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                IN THE DISTRICT COURT OF THE UNITED STATES

                     FOR THE DISTRICT OF SOUTH CAROLINA

                               CHARLESTON DIVISION

UNITED STATES OF AMERICA                  )
                                          )
                     v.                   )        CASE NO.: 2:15-CR-472
                                          )
DYLANN STORM ROOF                         )


         DEFENDANT’S MOTION TO STRIKE THE DEATH PENALTY
              AS A POSSIBLE PUNISHMENT IN THIS CASE

       The defendant, through counsel, submits the following challenges to the

constitutionality of the death penalty generally and aspects of the Federal Death Penalty

Act. The defense acknowledges that certain of these challenges are foreclosed by

Supreme Court or Fourth Circuit precedent, but we wish to preserve them for further

review by those courts in light of developing law, including those changes that reflect

“the evolving standards of decency that mark the progress of a maturing society.” Trop v.

Dulles, 356 U.S. 86, 101 (1958).

       The facts of this case are indisputably grave. But if, as we contend here, the

FDPA is unconstitutional, no one can be lawfully sentenced to death or executed under it,

no matter what his crimes. See Furman v. Georgia, 408 U.S. 238 (1972) (invalidating all

pending death sentences in the United States without case-by-case examination of the

facts or proceedings in each case). For this reason, this motion does not address the facts

of the crimes for which the defendant has been charged.


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       Before setting out our constitutional claims, counsel wish to emphasize that this

motion, which raises only questions related to the death penalty, is being filed solely as a

result of the government’s decision to seek the defendant’s execution rather than

accepting his proffered pleas of guilty and willingness to accept multiple sentences of life

imprisonment without possibility of release. Should the government’s death notice be

withdrawn at any point in the future, Mr. Roof will withdraw this motion and plead guilty

as charged to all counts in the indictment. Moreover, many of the issues raised here deal

with concerns specific to capital jury trials, all of which may still be avoided should the

government withdraw its insistence, Dkt. No. 182, that the defendant be tried and

sentenced by a jury.

I.     The death penalty – in and of itself – constitutes an unconstitutional
       punishment.

       In Glossip v. Gross, -- U.S. --, 135 S. Ct. 2726 (2015), Justices Breyer and

Ginsburg issued a call for reconsideration of the constitutionality of the death penalty,

aligning themselves with several other justices who have expressed similar views in the

four decades since the Court reversed its earlier decision that capital punishment violates

the Eighth Amendment. See 135 S. Ct. at 2755-80 (2015) (Breyer and Ginsburg, JJ.,

dissenting). 1 In support of their conclusion that “the death penalty, in and of itself, now



1Justice Breyer recently urged again that the Court reconsider the constitutionality of the death
penalty, in his dissent from the denial of certiorari in Brooks v. Alabama, 136 S. Ct. 708 (Mem.)
(Jan. 21, 2016) (“The unfairness inherent in treating this case differently from others which used
similarly unconstitutional procedures only underscores the need to reconsider the validity of
capital punishment under the Eighth Amendment. See Glossip v. Gross, 576 U.S. __ 135 S.Ct.
2726, 2755–56 (2015) (Breyer, J., dissenting).”).
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likely constitutes a legally prohibited ‘cruel and unusual punishmen[t],’” Justice Breyer,

who authored the joint dissent, wrote:

               In 1976, the Court thought that the constitutional infirmities in the
               death penalty could be healed; the Court in effect delegated
               significant responsibility to the States to develop procedures that
               would protect against those constitutional problems. Almost 40 years
               of studies, surveys, and experience strongly indicate, however, that
               this effort has failed. Today's administration of the death penalty
               involves three fundamental constitutional defects: (1) serious
               unreliability, (2) arbitrariness in application, and (3) unconscionably
               long delays that undermine the death penalty's penological purpose.
               Perhaps as a result, (4) most places within the United States have
               abandoned its use. I shall describe each of these considerations,
               emphasizing changes that have occurred during the past four
               decades. For it is those changes, taken together with my own 20
               years of experience on this Court, that lead me to believe that the
               death penalty, in and of itself, now likely constitutes a legally
               prohibited “cruel and unusual punishmen[t].” U.S. Const., Amdt. 8.

Id. at 2755-56. 2

       Less than two months later, the Connecticut Supreme Court, relying heavily on

Justices Breyer’s analysis, held that “the death penalty… is so out of step with our

contemporary standards of decency as to violate the state constitutional ban on excessive

and disproportionate punishment.” State v. Santiago, 318 Conn. 1, 45-46, 122 A.3d 1

(Conn. 2015), reconsideration denied, 319 Conn. 912 (2015). 3 The Connecticut Supreme




2We do not repeat here Justice Breyer’s thorough and detailed analysis (more than 40 pages in
length); rather, we offer a summary for the Court’s convenience.
3Although decided on state constitutional grounds, Santiago ruled that “when construing the
state constitutional freedom from cruel and unusual punishment, we broadly adopt the
framework that the federal courts have used to evaluate eighth amendment challenges.”
Santiago, 318 Conn. at 45-46.
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Court cited the Glossip dissent for a number of factual and legal propositions critical to

the Santiago holding, including:

              • “[n]otably, by 2012, less than 2 percent of the nation's counties
                accounted for all of the death sentences imposed nationwide” (318
                Conn. at 80);

              • “between 1973 and 1995, state and federal courts found errors in more
                than two thirds of the capital cases that they reviewed” (id. at 93 n.96);

              • “[s]tatistical analyses have demonstrated to a near certainty that
                innocent Americans have been and will continue to be executed in the
                post-Furman era” (id. at 104); and

              • “court[s], not legislature[s] ultimately must determine whether capital
                punishment comports with evolving standards of decency because
                [these] are quintessentially judicial matters ... [that] concern the
                infliction—indeed the unfair, cruel, and unusual infliction—of a serious
                punishment [on] an individual. ” (id. at 138-39).

       The first Federal Death Penalty Act (“FDPA”) case to address the realities of the

modern death penalty as outlined in the Glossip dissent was United States v. Sampson,

2015 WL 7962394, at *20 (D. Mass. Dec. 2, 2015). There, although the court denied the

defendant’s multiple challenges to the FDPA on the pre-Glossip record presented in that

case, it nevertheless concluded, citing the Glossip dissent and its own prior ruling on the

issue, that “[t]he court remains concerned … about the potential rate of error in federal

capital cases generally and the risk of the execution of the innocent particularly.”

       Since then, Glossip’s call for reconsideration of the constitutionality of the death

penalty has been raised in other FDPA cases, 4 most recently in United States v. Fell,



4See, e.g., United States v. James Watts, 4:14-cr-40063-JPG-1 (S.D. Ill.), Dkt. 150. This motion
remains pending.
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5:01-cr-00012-GWC-1 (D. Vt.), where the court conducted a nine-day evidentiary

hearing on the constitutionality of the Federal Death Penalty Act that concluded on July

21, 2016. In Fell, the court received testimony on all of the issues outlined in Justice

Breyer’s opinion, and so developed a comprehensive and up-to-date record of the

FDPA’s Fifth and Eighth Amendment deficiencies, including:

              (1) The rate of error, i.e., the high number mistakes by judges,
                  prosecutors, police, or defense counsel, requiring new trials or
                  sentencing hearings – and sometimes exonerations;

              (2) The arbitrariness in the FDPA’s application, i.e., how the
                  exercise of prosecutorial and juror discretion results in regional,
                  racial, and gender disparities in which defendants receive the
                  death penalty;

              (3) The unavoidable delay built into the process, intended to protect
                  against that error, but which has failed to do so, and which
                  undermines the purpose of capital punishment, often at the
                  expense of victim family members; and

              (4) Abandonment of use of the death penalty in most states under
                  evolving standards of decency.

Counsel are informed that the record of the Fell hearing will be available by the end of

August for this Court’s consideration in connection with this motion.

       In light of the recent developments outlined in the Glossip and Santiago opinions,

as supplemented by the factual showing made at the Fell hearing, this Court should rule

that the federal death penalty constitutes a legally prohibited, arbitrary, cruel and unusual

punishment prohibited by both the Fifth and Eighth Amendments.




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II.     The FDPA is unconstitutional because it fails to provide a structure that
        permits a reasoned choice between a sentence of life without the possibility of
        release and execution.

        When the Supreme Court reinstated the death penalty in 1976, it did so subject to

the requirement that “where discretion is afforded a sentencing body on a matter so grave

as the determination of whether a human life should be taken or spared, that discretion

must be suitably directed and limited so as to minimize the risk of wholly arbitrary and

capricious action.” Gregg v. Georgia, 428 U.S. 153, 189 (1976). That pronouncement

followed from Furman v. Georgia, which had held that “as a result of giving the

sentencer unguided discretion to impose or not to impose the death penalty for murder,

the penalty was being imposed discriminatorily, wantonly and freakishly, and so

infrequently that any given death sentence was cruel and unusual.” Id. at 220–21

(footnote omitted).

        The essential components of the new “guided discretion” scheme – under which

the American death penalty system still operates – were that the pool of death eligible

defendants would be narrowed in an objective way, and that every eligible defendant

would then be entitled to individualized sentencing in which his or her character and

background were put into evidence and the jury given unfettered discretion to exercise

mercy. As more thoroughly discussed in Justice Breyer’s dissent in Glossip and the

Connecticut Supreme Court’s decision in Santiago, and as demonstrated at the

evidentiary hearing in Fell, this delicate balance of discretion and objective reliability has

proved unattainable.


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      Members of the Supreme Court identified the legal tension in this balancing act

more than twenty years ago, and have struggled with it since. Arguing that Furman and

Lockett “cannot be reconciled,” Justice Scalia announced in 1990, that he would no

longer enforce the requirement of individualized sentencing. Walton v. Arizona, 497 U.S.

639, 664 (1990). Justice Thomas took a similar position in 1993. See Graham v. Collins,

506 U.S. 461, 479 (1993). And Justice O’Connor also expressed concern with the

difficulty of achieving consistency while allowing the consideration of individual

characteristics. See California v. Brown, 479 U.S. 538 (1987).

        Most famously, in 1994, Justice Blackmun announced that “[f]rom this day

 forward, I no longer shall tinker with the machinery of death.” Callins v. Collins, 510

 U.S. 1141 (1994) (Blackmun, J., dissenting from denial of certiorari). He explained:

             For more than 20 years I have endeavored-indeed, I have
             struggled-along with a majority of this Court, to develop
             procedural and substantive rules that would lend more than
             the mere appearance of fairness to the death penalty
             endeavor. Rather than continue to coddle the Court’s
             delusion that the desired level of fairness has been achieved
             and the need for regulation eviscerated, I feel morally and
             intellectually obligated to concede that the death penalty
             experiment has failed.

Callins, 510 U.S. at 1145. Justice Blackmun noted that “discretion could not be

eliminated from capital sentencing without threatening the fundamental fairness due a

defendant when life is at stake,” because “evolving standards of decency required due

consideration of the uniqueness of each individual defendant when imposing society's

ultimate penalty.” Id. at 1147-49. See also Woodson v. North Carolina, 428 U.S. 280,

301 (1976) (plurality opinion). Instead, “[e]xperience has shown that the consistency and

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rationality promised in Furman are inversely related to the fairness owed the individual

when considering a sentence of death. A step towards consistency is a step away from

fairness.” Callins, 510 U.S. at 1147–49. See also Woodson, 428 U.S. at 301 (plurality

opinion)

       If the inherently conflicting commands that the “sentencer’s discretion to impose

death must be closely confined, but the sentencer’s discretion not to impose death (to

extend mercy) must be unlimited,” have confounded the Justices who developed them, it

should not be surprising that they have proven impossible for jurors to follow. The most

comprehensive study to date on the actual process by which death sentences are meted

out is by the Capital Jury Project, a research program by a consortium of universities on

how people who served on actual capital juries made the life and death decisions in those

cases. 5 In June of 2007, New Mexico State District Judge Garcia dismissed a death

notice in a case, in part because of the findings of the CJP. 6 Those findings demonstrate

jurors’ multiple difficulties with the guided discretion scheme, including:

              • the jurors’ disturbing propensity (more than 50% of the time) to decide
                the penalty issues before the penalty phase begins, thereby effectively
                excluding mitigation from the sentencing calculus;

              • a lack of juror understanding of what constitutes mitigation, and how it
                relates to the jurors’ sentencing function;

              • a widespread lack of understanding of the instructions given by the
                judge; and


5 More information on the Capital Jury Project, which interviewed nearly 2000 jurors from more
than 350 trials in over a dozen states, is available at http://www.albany.edu/scj/13189.php.
6 State v. Dominguez, D-0101-CR-200400521, State v. Good, D-0101-CR-00522, order entered

June 8, 2007.
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               • evidence that the jury decision-making process in death penalty cases is
                 so flawed as to violate constitutional principles.
       The CJP specifically identified “seven deadly sins” of capital juries and jury

selection procedure that unfairly increase the likelihood of a death verdict:

               1. premature decision-making; 7

               2. death bias; 8

               3. mitigation impairment; 9

               4. a widespread belief that death is mandatory in some cases; 10

               5. evasion of responsibility for sentencing decisions; 11

               6. the persistence of race as a factor in sentencing decisions; 12 and

7The CJP found that 30.3% of jurors had decided to vote for death before the penalty phase had
even begun. See William J. Bowers, Wanda J. Foglia, Still Singularly Agonizing, 39 Crim. Law
Bulletin 51, 57 (2003).
8Many of the jurors who survived death-qualification and decided capital cases probably should
have been excluded as jurors who would automatically vote for the death penalty. Id. at 62.
“Over half of the CJP jurors indicated that death was the only punishment they considered
acceptable for murder committed by someone previously convicted of murder (71.6%); a planned
or premeditated murder (57.1%); or a murder in which more than one victim is killed (53.7%).”
Id. Furthermore, about 10% of the CJP jurors admitted that the questions during voir dire
designed to ferret out these prejudices made them more likely to think the defendant “must be” or
“probably was” guilty and deserved to be sentenced to die. Id. at 65.

9“[A] great many people who actually served as capital jurors did not understand the instructions
they were supposed to be following.” Id. at 65. For example, 49.2% of CJP jurors thought that
mitigating evidence had to be proven beyond a reasonable doubt. Id. at 69.
10
  Half of the CJP jurors erroneously believed that the death penalty was required if the evidence
showed that the crime was “heinous, vile, or deprived” or that the defendant would be
“dangerous in the future.” Id. at 72.

11For example, only 29.8% of CJP jurors believed that the jury was strictly responsible in the 10
states where a jury’s decision is binding on the trial judge. Id. at 75.

12In the 70 cases studied where there was a black defendant and a white victim, “the percentage
of death sentences was 30% when there were less than five white male jurors, but rose to 70.7%
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               7. the belief that life sentences will not result in lengthy
                  incarcerations. 13

       Worse, studies also show that jury instructions do little to ameliorate these

concerns. See C. Haney, L. Sontag and S. Constanzo, Deciding to Take a Life: Capital

Juries, Sentencing Instructions, and the Jurisprudence of Death, 50 Journal of Social

Issues 49 (1994). The authors of the Haney study interviewed 57 capital jurors from

nineteen death penalty trials conducted under a California statute very similar to the

FDPA. Contrary to the bromide that jurors are presumed to follow instructions,

Richardson v. Marsh, 481 U.S. 200, 211 (1987); United States v. Francisco, 35 F.3d 116,

119 (4th Cir. 1994), the authors found that – in this context – jurors either failed to apply

or misapplied the instructions:

               •      one third of the jurors sampled focused on the nature of the
                      crime in a way that essentially created a legally spurious
                      presumption for death;

               •      for many of the jurors, the absence of mitigation was the only
                      reason given for the imposition of a death sentence, shifting
                      the burden to the accused;

               •      the jurors misused the instructions to limit their consideration
                      of some of the evidence admitted during the penalty phase,
                      and to insulate them from the impact of their decision;

               •      many of the jurors dismissed mitigation evidence outright
                      because they believed that mitigation evidence failed to “fit

when there were five or more white male jurors on the jury.” Id. at 77.
13
   “Many of the CJP jurors volunteered that they believed they had to vote for death to ensure
that the defendant would not get back on the streets.” Id. at 83. “But even more troublesome is
the evidence that some jurors do not believe judges when they are told there is no parole from a
life sentence.” Id. at 84.
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                    into” the rubric contained in the instructions, thereby
                    indicating a failure to understand what constituted mitigating
                    evidence;

             •      80% of the jurors refused to consider mitigation evidence
                    because it did not directly reduce the defendant’s
                    responsibility for the crime;

             •      60% of the jurors rejected mitigation evidence because it did
                    not completely account for the defendant’s actions;

             •      less than one third of the jurors demonstrated a workable
                    understanding of what constituted mitigation evidence; and

             •      80% of the juries that returned death verdicts did so believing
                    that life imprisonment without the possibility of parole did
                    not mean life without parole.

Other research has demonstrated similarly widespread misunderstandings of the

sentencing function in general, and of mitigation in particular, among jurors deciding

death penalty cases. See, e.g., C. Haney and M. Lynch, Comprehending Life and Death

Matters: A Preliminary Study of California’s Capital Penalty Instructions, Law and

Human Behavior, Vol. 18, No. 4, pp. 411–36 (1994); Peter M. Tiersma, Dictionaries and

Death: Do Capital Jurors Understand Mitigation?, Utah Law Review 1, 10-43 (1995); J.

Luginbuhl, Comprehension of Judges’ Instructions in the Penalty Phase of a Capital

Trial: Focus on Mitigating Circumstances, 16 Law and Human Behavior 203 (April

1992); M. Constanzo and S. Constanzo, Jury Decision Making in the Capital Penalty

Phase: Legal Assumptions, Empirical Findings and a Research Agenda, 16 Law and

Human Behavior 185 (1992). These and other studies show that jurors in death penalty

cases misunderstand what they are permitted to consider much more often than not, and


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that instructions rarely cure these misunderstandings. See Bowers & Foglia, Still

Singularly Agonizing, supra, at 68–69.

       Because death is different from other forms of punishment, courts have long

recognized the greater need for the reliability of the process by which the jury arrives at a

sentence. See Woodson, 428 U.S. at 303-05 (op. of Stewart, Powell & Stevens, JJ.). A

death penalty sentencing scheme that presents an unreasonable likelihood that the jurors

will misunderstand their role and their assignments violates the Eighth Amendment and

the Due Process Clause. See Cf. Simmons v. South Carolina, 512 U.S. 154 (1994)

(establishing entitlement under Due Process Clause to instruction that “life” sentence

means life without parole); Godfrey, 446 U.S. at 427 (holding that Eighth Amendment

requires specificity and clarity in guiding juror discretion). Jurors must be provided an

environment that permits a reasoned, informed decision about the appropriate sentence.

Cf. Boyde v. California, 494 U.S. 370, 380 (1990) (holding that reversal is required when

there is a “reasonable likelihood” that jury misunderstood instruction so as to improperly

limit consideration of mitigating evidence).

       The Capital Jury Project’s findings demonstrate that although the FDPA may have

been designed with as much care as possible under the circumstances, the capital

sentencing process that the statute provides is constitutionally inadequate in practice.

The results of jurors’ good-faith grappling with the law – arbitrary, biased, and erroneous

death verdicts – are intolerable as a matter of due process and proportional punishment.




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III.     “Death-qualifying” the jury violates the rights of both the defendant and
         prospective jurors, as well as the plain language of the federal law governing
         jury selection.

          This Court has directed the parties to confer and file jointly if possible, but

 separately if necessary, a proposed jury questionnaire by August 15, 2016. Dkt. 254 at

 4. A significant issue in the questionnaire, and in the jury selection process as a whole,

 is likely to be the “death qualification” of the jury – the means by which conscientious

 objectors to the death penalty are systematically excluded prior to selection of the petit

 jury that will decide the defendant’s case. The defendant objects to the death-

 qualification process as a violation of the right to due process under the Fifth

 Amendment, of the right to a fair trial before an impartial jury drawn from a fair

 cross section of the community under the Fifth and Sixth Amendments, and of the

 right against cruel and unusual punishment under the Eighth Amendment. In

 addition, excluding jurors with a reverence for life violates the plain language of 18

 U.S.C. § 3592(a). Finally, the death qualification process likely violates the excluded

 jurors’ First Amendment rights of free exercise of religion and the separation of

 church and state, and Fifth Amendment due process of law. 14 Although the Supreme

 Court and the Fourth Circuit have decided cases addressing aspects of death

 qualification, the issues addressed here are of first impression.

         Witherspoon v. Illinois provides no basis for removing jurors based upon their



14The defendant has standing to assert the First and Fifth Amendment rights of the excluded
jurors. See Powers v. Ohio, 499 U.S. 400, 413-16 (1991) (holding that criminal defendant has
standing to challenge systemic exclusion of a third-party group in the jury selection process).
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opposition to the death penalty, but rather operates as a limitation on the

government’s power to exclude. Witherspoon v. Illinois, 391 U.S. 510, 522-23 (1968)

(“[A] sentence of death cannot be carried out if the jury that imposed or recommended

it was chosen by excluding veniremen for cause simply because they voiced general

objections to the death penalty or expressed conscientious or religious scruples

against its infliction. No defendant can be constitutionally put to death at the hands of a

tribunal so selected.”).

       While Uttecht v. Brown, 551 U.S. 1 (2007), Lockhart v. McCree, 476 U.S. 162

(1986), and Wainwright v. Witt, 469 U.S. 412, 424 (1985), upheld state court decisions

removing jurors based upon their opposition to the death penalty, none of these cases

requires removal of such jurors. In federal court, not only is there no statutory basis

for removing jurors based upon their opposition to the death penalty, but the law provides

for an expansive opportunity (and obligation) to serve on a jury:

              It is further the policy of the United States that all citizens shall
              have the opportunity to be considered for service on grand and
              petit juries in the district courts of the United States, and shall
              have an obligation to serve as jurors when summoned for that
              purpose.
 28 U.S.C. § 1861.

       The removal of jurors based upon their opposition to the death penalty results

in a jury that is not drawn from a fair cross-section of the community. It is well

understood that, thanks to death-qualification, “capital juries are more likely to be

white, older, predominantly male, Protestant, and less educated than other criminal

juries, than the society from which they were picked.” Richard Salgado, Note,
                                             14
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Tribunals Organized To Convict: Searching for a Lesser Evil in the Capital Juror

Death-Qualification Process in United States v. Green, 2005 B.Y.U. L. Rev. 519, 520,

529-30 (2005) (discussing studies). In addition, numerous studies have indicated that

death-qualified guilt-phase juries are less favorable to defendants than more broadly-

constituted juries. See e.g., Erik Lillquist, Absolute Certainty and the Death Penalty,

42 Am. Crim. L. Rev. 45, 88 (2005) (describing a “robust scholarly consensus that

death-qualification of jurors lowers the effective standard of proof in criminal

cases.”); See Susan D. Rozelle, The Principled Executioner: Capital Juries’ Bias and the

Benefits of True Bifurcation, 38 Ariz. St. L.J. 769, 784–85 (2006) (using C J P data

collected from 1201 capital jurors and more than 350 actual trials to conclude that

death-qualified jurors hold “disproportionately punitive orientations toward crime and

criminal justice”).15

       In his concurring opinion in Baze v. Rees, 553 U.S. 35 (2008), Justice Stevens

explained that these conviction and punishment biases call death penalty verdicts into

question:

               Of special concern to me are rules that deprive the defendant of a
               trial by jurors representing a fair cross section of the
               community. Litigation involving both challenges for cause and
               peremptory challenges has persuaded me that the process of
               obtaining a “death qualified jury” is really a procedure that has the
               purpose and effect of obtaining a jury that is biased in favor of
               conviction. The prosecutorial concern that death verdicts would
               rarely be returned by 12 randomly selected jurors should be
               viewed as objective evidence supporting the conclusion that the

15Although Mr. Roof has confessed and offered to plead guilty, he is nevertheless entitled to a
fair trial before an impartial jury drawn from a fair cross-section of the community on all issues
relevant to his death penalty eligibility. See generally Ring v. Arizona, 536 U.S. 584 (2002).
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             penalty is excessive.

553 U.S. at 84 (Stevens, J., concurring); see also Uttecht v. Brown, 551 U.S. 1, 35

(2007) (Stevens, J., dissenting) (explaining that “[m]illions of Americans oppose the

death penalty,” and that “[a] cross section of virtually every community in the country

includes citizens who firmly believe the death penalty is unjust but who nevertheless are

qualified to serve as jurors in capital cases”). In Lockhart v. McCree, 476 U.S. 162, 165

(1986), however, the Court had concluded that death-qualification did not violate the

fair cross-section requirement for a jury because the process of excluding a group

defined exclusively by their death penalty attitudes did not involve the systematic

exclusion of a distinctive group in the community.

     Thirty years later, empirical evidence unavailable at the time of Lockhart v.

McCree demonstrates that excluding people who do not believe in the death penalty

means that members of protected classes – women and racial minorities – are

excluded. See Emily Hughes, The Empathic Divide in Capital Trials: Possibilities

for Social Neuroscientific Research, 2011 Mich. St. L. Rev. 541, 559 (2011) (noting,

since Lockhart, development of a “rich body of social science evidence augmenting

and complicating the intersection of bias and capital juror decision making.”). See

also Mona Lynch, Institutionalizing Bias: The Death Penalty, Federal Drug

Prosecutions, and Mechanisms of Disparate Punishment, 41 Am. J. Crim. L. 91, 121

(2013) (identifying same problems in the federal system). As a result, courts have

begun to recognize that the legal calculus must change, to insure the inclusion of jurors


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 from all backgrounds. S e e United States v. Green, 343 F. Supp. 2d 23, 33 (D. Mass.

 2004), supplemented, 348 F. Supp. 2d 1 (D. Mass. 2004), mandamus granted, opinion

 vacated by United States v. Green, 407 F.3d 434 (1st Cir. 2005); State v. Ramseur, 524

 A.2d 188, 252 n.54 (N.J. 1987). 16

       Jurors who refuse to consider mitigation, or who would always impose the death

penalty, frustrate a defendant’s right to an impartial jury, see Morgan v. Illinois,

504 U.S. 719, 727 (1992), but since the government enjoys no Sixth Amendment

right, jurors who oppose the death penalty are simply expressing the conscience of the

community. See generally Live Free And Nullify: Against Purging Capital Juries of

Death Penalty Opponents, 127 Harv. L. Rev. 2092 (2014) (discussing the historical role

of jurors and the development of death qualification). In fact, the FDPA specifically

contemplates that jurors “in determining whether a sentence of death is to be

imposed on a defendant, shall consider any mitigating factor.” 18 U.S.C. § 3592(a)

(emphasis added). The statute further provides that each juror shall consider “other

factors in the defendant’s background, record, or character . . . that mitigate against

imposition of the death penalty.” 18 U.S.C. § 3592(a)(8). Thus, that a juror may view

human life as sacred and thus be inclined to believe that defendant’s existence as a

human being, in and of itself, is a decisive mitigating factor, cannot be considered a

basis for disqualification under the federal death statute.


16See also In re United States, 426 F.3d 1, 7-9 (1st Cir. 2005) (noting “cause for concern” in the
lower proportional representation of African-Americans among qualified potential jurors and
remarking that the district court “has always been free to revise its jury plan in compliance with
the statute” to address this concern).
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       Because the practice of death qualifying a jury has no constitutional or statutory

underpinnings, distorts the jury function, introduces arbitrariness into capital

sentencing and increases the influence of racism and sexism on the death

determination, there is no justification for maintaining it. Even if the Court were to

reject the defense argument that there is no basis for “death qualifying” generally,

however, there would still remain one category of opinions that cannot constitutionally

provide a basis for exclusion. Exclusion of jurors on the basis of their death-penalty

views often reflects jurors’ religious convictions – whether they favor the government

(“eye for an eye”) or the defendant (religious beliefs that do not permit a juror to vote

for execution). Excluding those jurors violates the First Amendment’s Free Exercise

and Establishment clauses, as well as Art. IV, cl. 3 (“no religious Test shall ever be

required as a Qualification to any Office or public Trust under the United States”). 17

       For example, if a proposed juror is Catholic, Quaker, or any sect of any other

religion, and adamantly opposed to the death penalty, “death qualification” effectively

discriminates against that juror’s religion. No rule (e.g., “conscientious scruples” against

death) should be used to sanction religious discrimination. See Church of the Lukumi

Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520 (1993) (“At a minimum, the protections

of the Free Exercise Clause pertain if the law at issue discriminates against some or all

religious beliefs or regulates or prohibits conduct because it is undertaken for religious

reasons.”).


17The No Religious Test Clause appears to have been subsumed into the First Amendment,
because few cases discuss it separately.
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        The defense therefore requests that the Court issue an order precluding the

government from removing jurors based upon their views on the death penalty.

Alternatively, the defense asks the Court to require the Government to demonstrate a

compelling purpose justifying the removal of jurors based upon their religious or moral

views. Cf. Wisconsin v. Yoder, 406 U.S. 205, 215 (1972) ( “The essence of all that

has been said and written on the subject is that only those interests of the highest

order and those not otherwise served can overbalance legitimate claims to the free

exercise of religion.”).

IV.     The Court should strike the death notice – at least as to Counts 25-33 –
        because the pursuit of the death penalty in this case violates the separation of
        powers, given Congress’s decision not to authorize a death sentence for
        federal hate crimes.

        When Congress passed the Matthew Shepard and James Byrd, Jr. Hate Crimes

Prevention Act, 18 U.S.C. § 249 (“HCPA”), it was only after serious consideration of

whether the statute should include a provision authorizing imposition of the death

penalty. Ultimately, Congress chose to include a maximum penalty of life in prison, not

death. See 18 U.S.C. § 249(a)(1)(B), (a)(2)(A)(ii). In this case, the government’s

decision to charge the § 249(a)(1) counts (Counts 1-9) as predicates to the § 924(j) counts

(Counts 25-33), see Dkt. 2 at 9, and to offer “racially motivated killing” as a non-

statutory aggravating factor, see Dkt. 164 at 6, violates the Constitutional doctrine of

separation of powers. The Court should strike the death notice, at least insofar as it

relates to the hate crimes charges, out of respect for the separation of powers and the

legislative process that produced the law as enacted.

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       The Constitution is divided into three articles that define the powers of the

legislative, executive, and judicial branches. See U.S. Const., arts. I-III. Each of these

branches must invoke its specific, independent power for the criminal justice system to

function: Congress must criminalize the conduct, the executive must prosecute, and the

judiciary must oversee the trial, conviction and sentence. Cf. Mistretta v. United States,

488 U.S. 361, 363 (1989) (“Congress, of course, has the power to fix the sentence for a

federal crime ….”). The separation of powers is violated when one branch assumes the

power of another, without an express delegation of that power. See Clinton v. City of

New York, 524 U.S. 417 (1998) (Stevens, J., concurring) (“Liberty is always at stake

when one or more of the branches seek to transgress the separation of powers.”).

       The original version of the HCPA did not contain a death penalty provision.

When the HCPA passed the Senate, however, an amendment was offered, adding the

death penalty as a possible sentence for crimes such as the ones charged here. This

engendered significant controversy among supporters of the Act, many of whom were not

supporters of the death penalty. Tyler Lewis, Leadership Conference on Civil Rights,

Senate Adds Death Penalty Amendment to Kill Hate Crimes Legislation (July 20, 2009),

available at http://www.civilrights.org/archives/2009/07/531-sessions.html. Ultimately,

following conference committee negotiations, the death penalty amendment was removed

from the Senate bill, and the HCPA was enacted with the current maximum penalty of

life imprisonment. See H.R. Conf. Rep. No. 288, 111th Cong., 1st Sess. (2009) at 901.




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       In this case, despite Congress’s deliberate decision not to provide for the death

penalty in HCPA prosecutions, the government has effectively amended the statute to

permit a death sentence to be imposed. First, it has charged the HCPA violations as

predicate offenses to the 18 U.S.C. § 924(j) counts, which do provide for a death

sentence; and second, it has noticed a non-statutory aggravating factor regarding

“racially-motivated killing,” invoking the underpinnings of the HCPA in the death

penalty selection process. 18 In this manner, the government has managed an end-run

around Congress’s constitutional power to fix the maximum sentence. The prosecutorial

authority must not be permitted to legislate in this manner.

       Although the Fourth Circuit has addressed separation of powers challenges to the

FDPA before, it has never addressed a situation like this, in which the government has

sought to impose a punishment that Congress has specifically – after consideration –

chosen not to authorize. In prior cases, the Circuit has reviewed only allegations of

improper delegation, i.e., that Congress should not have granted prosecutors the authority

to define non-statutory aggravating factors at all. See, e.g., United States v. Higgs, 353

F.3d 281, 321-22 (2003) (challenging structure of FDPA as affording unlimited

discretion to prosecutors in identifying and defining non-statutory aggravating factors).

Although we preserve that claim below, it is not our claim here. The separation of


18
  The HCPA, 18 U.S.C. § 249(a)(1), reads: Whoever, whether or not acting under color of law,
willfully causes bodily injury to any person or, through the use of fire, a firearm, a dangerous
weapon, or an explosive or incendiary device, attempts to cause bodily injury to any person,
because of the actual or perceived race, color, religion, or national origin of any person . . . (B)
shall be imprisoned for any term of years or for life, fined in accordance with this title, or both,
if— (i) death results from the offense.
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powers violation here is far more menacing, because it involves the assumption of power

by one branch, rather than mere unlawful delegation.

       The Court should not permit the government to invade the province of the

legislative branch by manipulating the charging and selection processes to invoke the

death penalty for a crime as to which Congress explicitly rejected capital punishment.

The death notice – at least as to Counts 25-33 – should be stricken.

V.     Certain non-statutory aggravating factors are duplicative, because they
       separately count identical conduct as justifying a death sentence, in violation
       of the separation of powers and the Eighth Amendment.

       The government has noticed five non-statutory aggravating factors that are

duplicative, either of the substantive crimes in the indictment, or of each other. These

are:

              (1)    Attempt to Incite Violence. In preparation for, in committing,
                     and subsequent to the acts of violence, the Defendant
                     attempted to incite violent action by others.

              (2)    Victim Impact. DYLANN STORM ROOF caused injury,
                     harm, and loss to the individuals that he killed as well as to
                     the family, friends, and co-workers of those individuals. The
                     injury harm, and loss caused by DYLANN STORM ROOF
                     with respect to each victim is evidenced by the victim’s
                     personal characteristics and by the impact of the victim’s
                     death upon his or her family, friends, and co-workers.

              (3)    Endangering the safety of others. DYLANN STORM ROOF
                     endangered the safety of one or more persons in addition to
                     the victims of the murders charged in the Indictment in the
                     commission of these offenses.

              (4)    Racially motivated killing. DYLANN STORM ROOF has
                     expressed hatred and contempt towards African Americans,
                     as well as other groups, and his animosity towards African

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                     Americans played a role in the murders charged in the
                     Indictment.

              (5)    Selection of Victims. DYLANN STORM ROOF targeted
                     men and women participating in a Bible-study group at the
                     Emanuel AME Church in order to magnify the societal
                     impact of the offenses charged in the indictment.


Dkt. 164 at 5-6. Where a non-statutory aggravating factor is duplicative of a substantive

offense, its allegation violates the separation of powers, because Congress has already

determined which conduct warrants the death penalty in enacting the criminal code and

the FDPA’s statutory aggravating factors. Congress’s delegation of authority to allege

non-statutory aggravators cannot be said to involve re-alleging conduct that has already

been taken into account. In addition, where a non-statutory aggravating factor is

duplicative of another non-statutory aggravating factor, its allegation violates the Eighth

Amendment, because asking the jury to weigh the same information risks skewing the

penalty selection by double counting.

       A. The non-statutory aggravating factors regarding endangering safety,
          racial motivation, and selection of victims are duplicative of the
          underlying crimes and not encompassed by the statutory aggravating
          factors, and their allegation therefore violates the separation of powers
          and the Eighth Amendment.

       The allegation of non-statutory aggravating factors that restate aspects of the

offenses charged in the indictment – racial motivation (Counts 1-9, hate crimes);

selection of victims (Counts 1-9, 13-21; obstruction of religious exercise); and attempt

(Counts 10-12, 22-24) – creates two constitutional problems. First, their allegation

violates the separation of powers, because Congress did not authorize the government to

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assert these facts as aggravating; and second, their allegation violates the Eighth

Amendment, because – since they add nothing to the underlying conviction – they do

not narrow the class of offenders subject to the death penalty.

       The legal principle of separation of powers is discussed above in Point IV. The

defense acknowledges, but wishes to preserve for further review by the en banc Court

and the Supreme Court, that the Fourth Circuit has ruled that the FDPA’s use of non-

statutory aggravating factors does not – on the whole – violate the separation of powers.

See Higgs, 353 F.3d at 321-22 (holding that affording prosecutors the ability to identify

and define non-statutory aggravating factors does not constitute impermissible

delegation of legislative power). The argument here is different, however.

      In Higgs, the Fourth Circuit found that “[t]he prosecutor’s discretion with regard to

defining what is a death-eligible offense is wholly circumscribed” by the conviction and

the FDPA’s requirements that the jury find an intent factor and a statutory aggravating

factor. “Only after the selection of those critical, legislatively-defined factors is made is

the prosecutor afforded discretion to argue that additional nonstatutory aggravators

combine … to outweigh any mitigating factors ….” Id. at 321 (emphasis added). In this

case, nothing “additional” is being added. Rather, the government proposes to ask the

jury to reconsider facts regarding the convictions that are not statutory aggravating

factors authorized by Congress. Compare 18 U.S.C. § 3592(c)(1), (5)-(9), (11), (13)-

(14), (16) (listing offense-related statutory aggravating factors). Since Congress has not

done so, the prosecution – as a representative of the executive branch – may not be


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permitted to do so either. Cf. United States v. Johnson, 915 F. Supp. 2d 958, 1019 (N.D.

Iowa 2013) (“defining a single uncharged incident of distribution of a controlled

substance as a ‘non-statutory aggravating factor,’ where two or more convictions are

required to establish the ‘statutory aggravating factor,’ seems to me to be something of an

‘end run’ around the statute”).

      More importantly, it is an “end-run” around the Eighth Amendment. To satisfy the

Eighth Amendment, an aggravator must “reasonably justify the imposition of a more

severe sentence on the defendant compared to others found guilty of murder.” Zant v.

Stephens, 462 U.S. 862, 876-78 (1982). See also Lewis v. Jeffers, 497 U.S. 764, 776-78

(1990) (holding that aggravating circumstances must provide principled basis to

distinguish those sentenced to death from those imprisoned for murder). The non-

statutory aggravators involving racial motivation, selection of victims, and attempt

(endangering the safety of others) do no more than restate the offenses charged, which

does nothing to distinguish the convicted offender.

      Lowenfield v. Phelps, 484 U.S. 231 (1988), does not preclude Eighth Amendment

relief. There, the Supreme Court found no violation in submitting a duplicative

aggravating factor because the narrowing function had already occurred at the guilt

phase, due to the structure of the Louisiana statute at issue. See 484 U.S. at 246 (noting

that, at guilt-innocence phase, jury was required under Louisiana law to select between

five types of first degree murder). The FDPA, of course, operates differently, employing

aggravating factors to narrow the class of those subject to the death penalty. See United


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States v. Llera Plaza, 179 F. Supp. 2d 464, 483 (E.D. Pa. 2001) (observing that, under the

FDPA, “[i]f this [narrowing] function is to be accomplished, the simple repetition of the

crime of which a defendant has already been convicted cannot properly be used as a[]

[statutory] aggravating factor”).

      In combination, the separation of powers and Eighth Amendment issues involved

with these aggravators require that the Court strike them from the death notice.

       B. The non-statutory aggravating factors regarding attempt to incite
          violence, endangering safety, racial motivation, selection of victims, and
          victim impact are duplicative of each other in various respects, resulting in
          potential double counting, which would violate the Fifth and Eighth
          Amendments.

       Aggravating factors that duplicate each other are impermissible, because they

“run[] a clear risk of skewing the weighing process in favor of the death penalty and

thereby causing it to be imposed arbitrarily and therefore unconstitutionally.” See United

States v. Tipton, 90 F.3d 861, 899 (4th Cir. 1996) (finding harmless error in duplicative

aggravating factors). See also Jones v. United States, 527 U.S. 373, 398-99 (1999)

(plurality op.) (assuming, without deciding, that double counting is impermissible, but

finding harmless error). Here, there are multiple non-statutory aggravating factors that

duplicate each other in various respects. These factors should be stricken from the death

notice, or – at a minimum – the Court should require the government to narrow its

evidence to avoid double-counting, cf. United States v. Hammer, 25 F. Supp. 2d 518,

539-540 (M.D. Pa. 1998) (holding that defendant’s prior conviction could not be used to




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help establish statutory aggravating factor and to also support nonstatutory aggravating

factor of “additional . . . serious acts of violence”).

       Several factors address the alleged motive for the crime, including “racial

motivation”, “selection of victims”, and “attempt to incite violence.” All of these factors

implicate the same evidence: for example, as described in one portion of the indictment,

“by attacking African-American parishioners, Defendant DYLANN STORM ROOF

wanted to increase racial tensions across the Nation ….” Dkt. 2 at 2. The three separate

non-statutory aggravating factors relating to this allegation are simply three different

ways of referring to the same facts. This creates the possibility that “the jury [would]

assess the weight of the [] circumstances it [finds] on an unfair quantitative basis that

g[i]ve[s] [three]-fold effect to what was essentially a single factor.” Tipton, 90 F.3d at

900.

       Similarly, depending on the evidence offered in support, the factors “attempt to

incite violence”, “endangering safety”, and “victim impact” may amount to three

different ways of referring to the same allegations. At least one court has found that the

related “serious injury to surviving victims” aggravating factor was impermissibly

duplicative of victim impact. See United States v. Bin Laden, 126 F. Supp. 2d 290, 300-

301 (S.D.N.Y. 2001). In fact, in Bin Laden, the court refused to permit the two

aggravating factors, even though the government attempted to reserve “victim impact”

only for the deceased victims. See id. Here, the three categories are at least as

duplicative.


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        Moreover, the factors at issue are so interrelated and of such an emotional nature

that whatever fine distinctions the government might attempt to make between them, the

danger of confusing, misleading, or prejudicing the jury is too high to risk. See 18 U.S.C.

§ 3593(c) (providing that “information may be excluded if its probative value is

outweighed by the danger of creating unfair prejudice, confusing the issues, or

misleading the jury”). The government may not be permitted to proceed on all of them.

VI.     The Supreme Court’s decision Hurst v. Florida requires the Court to
        reevaluate Circuit precedent regarding Apprendi v. New Jersey issues in
        FDPA cases.

        Since the Supreme Court’s decision in Apprendi v. New Jersey, 530 U.S. 466

(2000), defendants in FDPA cases have been asserting a series of Fifth and Sixth

Amendment challenges to the charging and sentencing procedures under the Act.

Pertinent here, these challenges include: (1) that the jury should be required to make its

finding that the aggravating factors sufficiently outweigh the mitigating factors to justify

a sentence of death, 18 U.S.C. § 3593(e), beyond a reasonable doubt; and (2) that any

non-statutory aggravating factors should be submitted to the grand jury, because – like

statutory aggravating factors – they are elements of the capital offense. The Fourth

Circuit has denied these challenges. See United States v. Runyon, 707 F.3d 475, 515-16

(4th Cir. 2013); United States v. Lighty, 616 F.3d 321, 367-68 (4th Cir. 2010). The

Supreme Court’s recent decision in Hurst v. Florida, -- U.S. --, 136 S. Ct. 616 (2016),

however, calls into question Fourth Circuit precedent, requiring a fresh look by this




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Court. Cf. United States v. Collins, 415 F.3d 304, 311 (4th Cir. 2005) (noting that

intervening Supreme Court precedent permits decision making contrary to precedent).

       In Hurst, the Supreme Court held that, under Apprendi and Ring v. Arizona, 536

U.S. 584 (2002), sentencing procedures that Florida had used for more than forty years

violated the Sixth Amendment right to jury trial. Hurst has already led one jurisdiction

to reexamine its sentencing procedures in capital cases. The Delaware Supreme Court,

which had previously held that “Ring does not extend to the weighing phase,” Brice v.

State, 815 A. 2d 314, 322 (Del. 2003), has agreed to decide whether the Sixth

Amendment requires that weighing be conducted by a jury, unanimously beyond a

reasonable doubt. See Rauf v. State, No. 39, 2016 (Del. Jan. 28, 2016) (en banc),

attached as Exhibit 1, at 4.

       Before Hurst, some state courts had held that the weighing of aggravating and

mitigating circumstances is a determination of fact for purposes of Apprendi, whereas

federal courts reached the opposite conclusion (though sometimes over dissenting

opinions). In Hurst, however, Justice Sotomayor spoke for seven Justices in

characterizing the weighing required by Florida law as a finding of fact. This warrants

considering again the proper treatment under the Constitution of the weighing required by

the FDPA. In light of Hurst, there is no sound basis to treat that weighing as outside the

scope of the Apprendi doctrine.

       In Hurst, the Supreme Court reversed a death sentence under Florida’s sentencing

scheme and declared that scheme unconstitutional. Under pre-Hurst Florida law, after an


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evidentiary hearing, a jury made a “recommendation” of life or death. But the judge was

still required to hold a separate hearing and determine “whether sufficient aggravating

circumstances existed to justify imposing the death penalty” – the jury’s recommended

sentence was merely “advisory.” This, the Supreme Court held, is forbidden, because

“[t]he Sixth Amendment requires a jury, not a judge, to find each fact necessary to

impose a sentence of death.” 136 S. Ct. at 619-21 (emphasis added):

              Florida concedes that Ring required a jury to find every fact
              necessary to render Hurst eligible for the death penalty. . . . [Yet t]he
              State fails to appreciate the central and singular role the judge plays
              under Florida law. . . . [T]he Florida sentencing statute does not
              make a defendant eligible for death until “findings by the court that
              such person shall be punished by death.” Fla. Stat. § 775.082(1)
              (emphasis added). The trial court alone must find “the facts ... [t]hat
              sufficient aggravating circumstances exist” and “[t]hat there are
              insufficient mitigating circumstances to outweigh the
              aggravating circumstances.” § 921.141(3); see Steele, 921 So.2d,
              at 546. . . . The State cannot now treat the advisory recommendation
              by the jury as the necessary factual finding that Ring
              requires.

Id. at 622 (emphasis added) (second set of ellipses in original). This demonstrates that

the Court viewed the trial judge’s weighing determination as a finding of a fact for

purposes of Apprendi. The Fifth and Sixth Amendments require that such finding be

made beyond a reasonable doubt. See Alleyne v. United States, -- U.S. --, 133 S. Ct.

2151, 2158 (2013); Ring, 536 U.S. at 610 (Scalia, J., concurring) (“[A]ll facts essential to

imposition of the level of punishment that the defendant receives – whether the statute

calls them elements of the offense, sentencing factors, or Mary Jane – must be found by

the jury beyond a reasonable doubt.”)


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       The Supreme Court’s other recent decision in Kansas v. Carr, -- U.S. --, 136 S. Ct.

633 (2016), is not to the contrary. The question before the Court in Carr was whether the

Eighth Amendment required a state court to affirmatively instruct the jury that mitigating

circumstances “need not be proved beyond a reasonable doubt.” Carr answered that

question in the negative. Id. at 637. In dictum, the Court expressed “doubt” about

whether it was possible to apply “a standard of proof to the mitigating factor

determination,” and observed that “the ultimate question whether mitigating

circumstances outweigh aggravating circumstances is mostly a question of mercy — the

quality of which, as we know, is not strained.” Id. at 642. This does not undo the

reasoning of Hurst. Carr was an Eighth Amendment and not a Sixth Amendment case,

and nowhere mentioned Apprendi or its progeny. Carr’s Eighth Amendment challenge

was directed not to the issue of weighing, but to the standard of proof governing

mitigating factors. The Court’s dictum does not change the fact that, as it observed in

Hurst, the weighing of aggravating and mitigating factors is required before a defendant

can be sentenced to death under Florida’s (and the federal) sentencing scheme. More

importantly, the actual instruction to the jury in Carr that the Court found compatible

with the Eighth Amendment “ma[de] clear that both the existence of aggravating

circumstances and the conclusion that they outweigh mitigating circumstances must be

proved beyond a reasonable doubt.” Id. at 643 (emphasis added). Accordingly, Carr

cannot stand for the proposition that the Sixth Amendment does not require a “beyond a

reasonable doubt” weighing instruction.


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       It follows from Hurst, and the reality that weighing is fact-finding, that non-

statutory aggravating factors must be alleged in the indictment. Although the FDPA is

silent as to the grand jury, it has become settled since Ring that statutory aggravating

factors must be found by the grand jury (and that procedure was followed in this case).

But the government proposes also to submit to the jury in support of a death sentence six

non-statutory aggravating factors. See Dkt. 164. A death verdict may only be returned

after the jury has determined the presence of aggravating factors – both statutory and

non-statutory – and determined that they sufficiently outweigh any mitigating factors.

See 18 U.S.C. § 3593(e). As a practical matter, non-statutory aggravating factors are

critical to juries’ imposition of death in FDPA cases. Cf. Scott E. Sundby, A life and

Death Decision: A Jury Weighs the Death Penalty 19-20, 121 (2005) (describing

examples of influence of non-statutory aggravating factors). The grand jury too must be

afforded the opportunity to pass on the non-statutory aggravating factors. See Apprendi,

530 U.S. at 476 (“[U]nder the Due Process Clause of the Fifth Amendment and the notice

and jury trial guarantees of the Sixth Amendment, any fact (other than prior conviction)

that increases the maximum penalty for a crime must be charged in an indictment,

submitted to a jury, and proven beyond a reasonable doubt.”) (internal quotation marks

and citation omitted).

       In light of Hurst, the defense requests that the Court reconsider Fourth Circuit

precedent on these important Fifth and Sixth Amendment matters.




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VII.   The defense preserves for further review by the en banc Fourth Circuit and
       the Supreme Court certain other challenges.

       The defense acknowledges that the Fourth Circuit has decided the following

issues, but raises them here to preserve them for further review in the event of a

conviction at trial.

           • The rules of evidence should be applied at the penalty phase hearing, in

               order to assure the fairness and reliability of the proceeding. The FDPA’s

               provision that the rules of evidence do not apply violates the Fifth, Sixth,

               and Eighth Amendments to the Constitution. But see United States v.

               Umana, 750 F.3d 320, 346-48 (4th Cir. 2014) (holding that Confrontation

               Clause does preclude the introduction of hearsay at penalty phase hearing);

               United States v. Fulks, 454 F.3d 410, 437-38 (4th Cir. 2006) (rejecting

               constitutional challenge to failure of FDPA to require application of rules

               of evidence at penalty phase hearing).

           • The “substantial planning and premeditation” statutory aggravating factor is

               unconstitutionally vague, because the term “substantial” is not precise

               enough in meaning to channel the factfinder’s discretion. But see United

               States v. Jackson, 327 F.3d 273, 301 (4th Cir. 2003); United States v.

               Tipton, 90 F.3d 861, 895-96 (4th Cir. 1996).

                                      CONCLUSION

       This Court should declare the FDPA unconstitutional and order that this case

proceed as a non-capital case. Such a ruling would permit the defendant to enter his

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guilty plea and proceed to a sentencing hearing at which – after the Court had heard from

any survivors or victim family members who might wish to speak – he would be

sentenced to life in prison without the possibility of release, and this prosecution would

conclude.


                                          Respectfully submitted,

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